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                          ILL UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


CITY OF CHICAGO,

               Plaintiff,                         No. 24-cv-02496
                                                  Judge Franklin U. Valderrama
v.

BP P.L.C., et al.,

               Defendants.


                            MEMORANDUM OPINION AND ORDER

         Climate change and its causes is one of the most divisive issues of our time.

For some, the burning of fossil fuels is the primary cause of climate change.

Municipalities in recent years have sought to hold fossil fuel companies liable for the

costs associated with climate change. In this case, the City of Chicago (the City) sued

oil companies BP P.L.C., BP America Inc., BP Products North America Inc., Chevron

Corporation, Chevron U.S.A. Inc., ConocoPhillips Company, ConocoPhillips, Phillips

66 Company, Phillips 66, Exxon Mobil Corporation, ExxonMobil Oil Corporation,

Shell Oil Products Company LLC, Shell PLC, Shell USA, Inc., and their primary

trade organization, the American Petroleum Institute (collectively Defendants) in

state court, alleging that they misrepresented and concealed information about their

fossil fuel products in violation of numerous state laws and various state common

laws. See generally R. 1-1, Compl. 1 Defendants removed the case to this Court



1Citations to the docket are indicated by “R.” followed by the docket number or filing name,

and, where necessary, a page or paragraph citation.
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pursuant to 28 U.S.C. § 1442, 28 U.S.C. §§ 1331 and 1441(a). R. 1, NOR. The City

moves to remand the case to state court. R. 66, Mot. Remand. For the reasons that

follow, the Court grants the City’s motion to remand.

                                      Background 2

       The City alleges that, for decades the fossil fuel industry has misled consumers

and the public about climate change. Compl. ¶ 1. Major members of the fossil industry

have known for decades that fossil fuels are the primary cause of climate change. Id.

¶ 2. The fossil fuel industry knew that, if unabated, climate change could result in

catastrophic impacts, including droughts, floods, and severe weather events that

would impose enormous harms on cities such as Chicago. Id. Rather than warn of

these harms, Defendants “mounted a disinformation campaign beginning as early as

the 1970s to discredit the burgeoning scientific consensus on climate change . . . .” Id.

¶ 6. Defendants “misrepresented and concealed the hazards of fossil fuel products to

deceive consumers and the public about the consequences of everyday use of fossil

fuel products . . . while knowing the dangers associated with them.” Id. ¶ 9.

Defendants’ conduct “drove fossil fuel consumption and delayed the transition to a

lower-carbon future.” Id. This caused, from the City’s perspective, “an enormous,

foreseeable, and avoidable increase in anthropogenic GHG emissions and accelerated

global warming, bringing devastating consequences to the City and its people.” Id.




2In considering a motion to remand, the Court “assumes the truth of the operative complaint’s

allegations at the time of removal, but may also consider facts set forth in the notice of
removal.” Curry v. Boeing Co., 542 F. Supp. 3d 804, 808 (N.D. Ill. 2021) (cleaned up).



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      The City sued Defendants in state court asserting causes of action against all

Defendants for: strict products liability, failure to warn (Count I); negligent products

liability, failure to warn (Count II); negligence (Count III); public nuisance (Count

IV); private nuisance (Count V); nuisance violations of MCC § 7-28-030 (Count VI);

civil conspiracy (Count VII); unjust enrichment (Count VIII); consumer fraud in

violation of MCC § 2-25-090 (count IX); misrepresentations in connection with sale or

advertisement of merchandise in violation of MCC §§ 4-276-470, et seq. (Count X);

and recovery of City costs in violation of MCC § 1-20-020 (Count XI). Compl.

Defendants removed the case to this Court based upon 28 U.S.C. §§ 1331, 1441(a),

and 1442. NOR. The City moves to remand the case back to state court, arguing that

the Court lacks subject matter jurisdiction. The Court agrees.

                                  Legal Standard

      Federal courts are courts of limited jurisdiction. Exxon Mobil Corp. v.

Allapatthah Servs., Inc., 545 U.S. 546, 552 (2005). A case may only be brought in

federal court when such a cause of action arises under a federal question, 28 U.S.C.

§ 1331, or where there is diversity of citizenship and an amount-in-controversy

exceeding $75,000, id. § 1332(a); see Home Depot U.S.A., Inc. v. Jackson, 587 U.S.

435, 437–38 (2019). A defendant may remove to federal court any action filed in state

court that “could have been brought originally in federal court.” 28 U.S.C. § 1441(a);

Tylka v. Gerber Prods. Co., 211 F.3d 445, 448 (7th Cir. 2000). “The party seeking

removal has the burden of establishing federal jurisdiction.” Schur v. L.A. Weight

Loss Ctrs., Inc., 577 F.3d 752, 758 (7th Cir. 2009). “Courts should interpret the




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removal statute narrowly and presume that the plaintiff may choose his or her

forum.” Doe v. Allied–Signal, Inc., 985 F.2d 908, 911 (7th Cir. 1993).

                                          Analysis

       Defendants assert that the Court has subject matter jurisdiction pursuant to

the federal officer removal statute, 28 U.S.C. § 1442(a)(1) and federal common law.

However, the City argues, and the Court agrees, that Defendants have abandoned

their contention that the Court has jurisdiction based on federal common law, as this

argument is relegated to a footnote in their response. 3 See R. 87, Resp. at 2–3 n.2.

Evergreen Square of Cudahy v. Wisconsin Hous. & Econ. Dev. Auth., 848 F.3d 822,

829 (7th Cir. 2017) (“A party may waive an argument by presenting it only in an

undeveloped footnote.”) (citing United States v. Warner, 792 F.3d 847, 856 (7th Cir.

2015); Harmon v. Gordon, 712 F.3d 1044, 1053 (7th Cir. 2013)); see also Sanders v.

JGWPT Holdings, Inc., 2016 WL 4009941, at *10 (N.D. Ill. July 26, 2016)

(“Arguments in footnotes are typically waived.”); J. Valderrama Standing Order,

Memorandum of Law Requirements (“Generally, the Court will not consider

substantive arguments contained in footnotes.”). That is especially true where

Defendants bear the burden of establishing federal jurisdiction—they have not met

that burden based on the arguments included in their cursory footnote. Therefore,

the Court limits its analysis to jurisdiction under the federal officer removal statute.




3Additionally, at oral argument held on February 5, 2025 (R. 112), counsel for the defense

stated that the Court only needs to consider the federal officer removal, and need not consider
removal pursuant to federal common law.



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      The federal officer removal statute permits a defendant to remove to federal

court a state court action, if the action is against “[t]he United States or an agency

thereof” or a federal officer. 28 U.S.C. § 1442(a)(1); Raoul v. 3M Co., 111 F. 4th 846,

848 (7th Cir. 2024). Federal officer removal is proper “when ‘the defendant (1) is a

person within the meaning of the statute, (2) is acting under the United States, its

agencies, or its officers, (3) is acting under color of federal authority, and (4) has a

colorable federal defense.’” Baker v. Atl. Richfield Co., 962 F.3d 937, 941 (7th Cir.

2020) (quoting Betzner v. Boeing Co., 910 F.3d 1010, 1015 (7th Cir. 2018)). Generally,

courts interpret removal statutes narrowly. See Watson v. Phillip Morris Cos., 551

U.S. 142, 147 (2007). Such is not the case, however, when it comes to the federal

officer removal statute. In that case, courts construe the federal officer removal

statute liberally, not strictly. Betzner, 910 F.3d at 1014.

      The City argues that the case should be remanded to state court because

Defendants do not satisfy the elements of the federal officer removal statute.

Specifically, the City advances four arguments for remand: (1) the City does not seek

any relief for injuries arising from Defendants’ supplying specialized fuels to the

federal government for military and national defense purposes; (2) Defendants were

not acting under the direction or control of federal officers during any of the activities

Defendants cite as grounds for removal; (3) the City does not seek to hold Defendants

liable for any act that Defendants allegedly took at the behest of a federal officer; and

(4) Defendants have not pled a colorable federal defense. R. 66-1, Memo. Remand at




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5–6. The City points out that eight courts of appeals have rejected Defendants’

removal attempts in similar cases. Id. at 1.

       Predictably, Defendants disagree, arguing that they have satisfied each

element of the federal officer removal statute. Resp. According to Defendants, it

matters not that other circuits have remanded similar cases based on similar

arguments, since Seventh Circuit authority, and specifically Baker v. Atl. Richfield

Co., 962 F.3d 937 (7th Cir. 2020) is binding on this Court and is dispositive. Id. at 2.

Because many of Defendants’ arguments are based on Baker, the Court briefly

summarizes that case here and then addresses its applicability to specific arguments

in its analysis.

       In Baker, the plaintiffs, former residents of a housing complex, sued in state

court several companies that manufactured industrial materials at a refinery that

previously stood on the same land as the complex. The plaintiffs alleged that the

defendants polluted the soil in and around their housing complex, exposing plaintiffs

to hazardous substances like lead and arsenic. 962 F.3d at 939. The defendants

removed the case to federal court under the federal officer removal statute, on the

basis that the government directed the defendants or their predecessors to produce

certain materials for the military, supervised the distribution of these goods, and

controlled their ultimate usages. 962 F.3d at 939–41. The plaintiffs moved to remand

the case to state court, which the district court granted, finding that the defendants

acted under color of federal office for only a portion of the time covered by the

plaintiffs’ claims. 962 F.3d at 940.




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      The Seventh Circuit reversed. The court explained that “where a private

contractor helps the Government to produce an item that it needs, the assistance that

private contractors provide federal officers goes beyond simple compliance with the

law and helps officers fulfill other basic governmental tasks.” Baker, 962 F.3d at 942

(cleaned up). 4 The court found that the defendants conducted wartime operations

under federal authority by producing chemicals that the government would have

otherwise had to manufacture and because the government used the chemicals to

conduct a war. Id. at 942–43. Thus, the defendants “acted under federal authority”

when manufacturing those chemicals. Id. at 943.

      The court then turned to whether the conduct alleged in the complaint related

to “acts for or relating to” federal authority. That is, whether there was a causal

connection between the charged conduct and asserted federal authority. Baker, 962

F.3d at 943. The court rejected the plaintiffs’ contention that the defendants failed to

show that their injuries were caused by the defendants’ wartime production for the

government because the plaintiffs mistakenly were demanding “an airtight case on

the merits in order to show the required causal connection.” Id. The court reminded

that Supreme Court “jurisprudence teaches that the policy in favor of federal officer

removal should not be frustrated by a narrow, grudging interpretation of

§ 1442(a)(1).” Id. (cleaned up). The court found that Congress, in amending the

federal officer removal statute in 2011, “broadened federal officer removal to actions,



4This Order uses (cleaned up) to indicate that internal quotation marks, alterations, and

citations have been omitted from quotations. See Jack Metzler, Cleaning Up Quotations, 18
Journal of Appellate Practice and Process 143 (2017).



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not just causally connected, but alternatively connected or associated, with acts under

color of federal office.” Id. (emphases in original) (cleaned up). Accordingly, the

Seventh Circuit abandoned the “causal connection” test and “join[ed] all the courts of

appeals that have replaced causation with connection and expressly adopt[ed] that

standard as [its] own.” Id. at 944. When viewed under that lens, the defendants did

not need to allege that the complained-of-conduct itself was at the behest of a federal

agency. Id. It is enough for the “acting under” test that the allegations are directed

at the relationship between the defendant and the federal government. Id. at 945.

The court concluded that the parties’ dispute over whether the plaintiffs’ injuries

arose from products the defendants manufactured for the government was a

causation question that federal courts can resolve. Id.

         Keeping Baker in mind, the Court addresses each of the City’s arguments

below.

         I.    Disclaimer of Injuries

         As a preliminary matter, the City argues that “[m]any of Defendants’ removal

arguments are irrelevant because the Complaint expressly ‘disclaims injuries . . .

arising from Defendants’ provision of non-commercial, specialized fossil fuel products

to the federal government for military and national defense purposes.’” Memo.

Remand at 6 (quoting Compl. ¶ 11). That is, the Complaint, from the City’s point of

view, does not place Defendants’ sales of specialized military fuels at issue. Id. Courts,

asserts the City, grant motions to remand where the plaintiff expressly disclaims the

claims upon which the federal officer removal was based. Id. (citing, inter alia,




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Kelleher v. A.W. Chesterton Co., 2015 WL 7422756, at *2 (S.D. Ill. Nov. 23, 2015);

Reinbold v. Advanced Auto Parts, Inc., 2018 WL 3036026, at *2 (S.D. Ill. June 19,

2018)).

      Defendants counter that the City’s disclaimer of injuries argument is

foreclosed by Baker. Resp. at 27. As for Kelleher and Reinbold, those cases, from

Defendants’ perspective, are distinguishable as they pre-date Baker. Id. at 28. And,

in a notice of supplemental authority, Defendants point to a more recent Seventh

Circuit case, People ex rel. Raoul v. 3M Co., 111 F.4th 846, 849 (7th Cir. 2024) and a

First Circuit case that relied in part on 3M, Gov’t of Puerto Rico v. Express Scripts,

Inc., 119 F.4th 174, 192–93 (1st Cir. 2024). R. 97, Defs.’ Suppl. Auth.

      In Baker, in a footnote, the Seventh Circuit addressed and rejected the

plaintiffs’ purported disclaimer as it contradicted their theory of liability. 962 F.3d at

945 n.3. The plaintiffs purported to disclaim that their lawsuit was about one of the

defendant’s manufacture of Freon-12 for the government, but because the defendant

alleged that its Freon-12 production resulted in waste streams containing lead and

arsenic waste, two of the main toxins the plaintiffs claimed harmed them, the court

found that the plaintiffs “could not have it both ways.” Id. Put another way, the

Seventh Circuit did not allow the plaintiffs to seek damages for certain types of

pollution, while simultaneously disclaiming those same types of pollution for

jurisdictional purposes.

      In 3M, like Baker, the plaintiffs alleged violations of several Illinois

environmental statutes, as well as common law claims, against a company that




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produces numerous chemical products in its manufacturing operations. 111 F.4th at

849. The plaintiffs’ suit was not premised on any misrepresentations made by the

company. The Seventh Circuit agreed with the district court that the plaintiffs’

disclaimer—that it would not seek relief against the company for mixed

contamination, that is, contamination arising from private and government-

contracted conduct—brought the disclaimer outside the scope of the disclaimer in

Baker, and prevented the defendant from raising a colorable federal contractor

defense. Id. The plaintiff in Express Scripts alleged that defendants “schemed to

unlawfully inflate insulin prices through rebate negotiations and price setting.” 119

F.4th at 179. Similar to the plaintiffs in 3M, the plaintiff sought to evade federal

jurisdiction by disclaiming any “relief relating to any federal program . . . or any

contract related to a federal program.” Id. at 189. However, the First Circuit found

that it was impossible to divide the defendant’s negotiations over rebates and prices

over insulin between “federal and non-federal work to enforce the disclaimer,” and

thus, crediting the defendant’s theory of the case, the disclaimer did not foreclose

colorable federal defenses. Id. at 192–93.

      Here, the City states in its Complaint that it “hereby disclaims injuries arising

on federal property and those arising from Defendants’ provisions of non-commercial,

specialized fossil fuel products to the federal government for military and national

defense purposes. [The City] seeks no recovery or relief attributable to these injuries.”

Compl. ¶ 11 n.6. The Court agrees with the City that neither Baker, 3M, nor Express

Scripts render the City’s disclaimer ineffective. R. 93, Reply at 5–6; R. 99, Pl. Resp.




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Suppl. Auth. Unlike in Baker, where, as discussed above, there was a contradiction

between the plaintiffs’ attempt to both recover from lead and arsenic contamination

but also disclaim government-controlled production of some of that contamination,

here, there is no contradiction between the City’s disclaimer and its deception-focused

theory of liability. Reply at 5. Indeed, as counsel for the City acknowledged during

oral argument, the City’s disclaimer, to an extent, is “redundant” because the causes

of action brought by the City do not go to the conduct carved out in the disclaimer. As

the Third Circuit stated in City of Hoboken v. Chevron Corp. about a materially

identical disclaimer, “the disclaimers are no ruse . . . [the plaintiffs] carve out a small

island that would needlessly complicate their cases.” 45 F.4th 699, 713 (3d Cir. 2022);

see also City of Annapolis, Maryland v. BP P.L.C., 2022 WL 4548226, at *8 (D. Md.

Sept. 29, 2022), aff’d sub nom. Anne Arundel Cnty., Maryland v. BP P.L.C., 94 F.4th

343 (4th Cir. 2024)).

      Finally, Defendants are correct that the Court must credit a defendant’s

“reasonable” theory of the case. Baker, 962 F.3d at 947. The Supreme Court has stated

that “federal officers ‘should have the opportunity to present their version of the facts’

on disputes at the heart of their federal service to a federal court.” Express Scripts,

119 F.4th at 189 (quoting Willingham v. Morgan, 395 U.S. 402, 409 (1969)). However,

a defendant cannot simply offer “any theory of the case, however untethered to the

claims of Plaintiffs, because this Court must ‘credit’ that theory,” as doing so “would

completely ignore the requirement that there must be a causal connection with the

plaintiff’s claims.” City & Cnty. of Honolulu v. Sunoco LP, 2021 WL 531237, at *7 (D.




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Haw. Feb. 12, 2021) (Honolulu I), aff’d, 39 F.4th 1101 (9th Cir. 2022) (emphasis in

original). As the City points out, the Seventh Circuit found that the plaintiff-State’s

disclaimer made the federal contractor defense “wholly irrelevant under the State’s

theory of recovery” in 3M. Pl. Resp. Suppl. Auth. at 2 (citing 3M Co., 111 F.4th at 849

(emphasis added)). Here, the City’s claims are based on Defendants’ alleged deceptive

and misleading campaign minimizing the dangers of fossil fuel consumption, so there

is no contradiction with the City’s disclaimer regarding Defendants’ provision of fossil

fuels to the government for military and national defense purposes.

       Even if Defendants were correct that the City’s disclaimer is invalid, however,

the Court nonetheless agrees with the City that they fail to satisfy other

requirements of federal officer removal, as discussed below.

       II.    Federal Officer Elements

       Briefly, as stated above, federal officer removal is proper “when the defendant

(1) is a person within the meaning of the statute, (2) is acting under the United States,

its agencies, or its officers, (3) is acting under color of federal authority, and (4) has a

colorable federal defense.” Baker, 962 F.3d at 941. Starting with the first element,

the City does not contend that Defendants, all corporations, are not persons under

§ 1442(a). No matter, as the Court finds that Defendants easily satisfy the first

element for federal officer removal. Ruppel v. CBS Corp., 701 F.3d 1176, 1181 (7th

Cir. 2012) (Congress did not exclude corporations as “persons” under § 1442(a)).




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Instead, the City maintains that Defendants do not satisfy the remaining elements

for federal officer removal. The Court addresses each in turn.

              A. Acting Under Federal Officers

       The second element, the “acting under” requirement, looks to the relationship

between the defendant seeking to remove the case and the United States, its agencies,

or its officers. Roberts v. Smith & Wesson Brands, Inc., 2023 WL 6213654, at *5 (N.D.

Ill. Sept. 25, 2023) (Roberts I), aff’d, 98 F.4th 810 (7th Cir. 2024). This element

includes situations where the federal government uses a private corporation to

achieve an end it would have otherwise used its own agents to complete. Ruppel, 701

F.3d at 1181. “Acting under” covers situations where defendants work “hand-in-hand

with the federal government to achieve a task that furthers an end of the federal

government.” Id. Similarly, this element is satisfied where the government enlists a

private party in “‘an effort to assist, or to help carry out, the federal superior’s duties

or tasks.’” Id. (quoting Watson, 551 U.S. at 152 (emphases in original)). Defendants

insist that they were “acting under” federal officers when they engaged in several

activities, detailed briefly below.

       First, Defendants contend that they acted under federal officers by repeatedly

performing critical and necessary functions for the U.S. military to further national

defense. NOR ¶ 22. More specifically, that they acted under federal officers when they

produced aviation fuel gas or “avgas” and operated petroleum infrastructure,

particularly during World War II and the Korean War. Id. ¶¶ 29, 31. Second,

Defendants maintain that they “continue to produce and supply large quantities of




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highly specialized fuels that are required to conform to exact DOD specifications” to

the military to this day. Resp. at 12; NOR ¶¶ 45–55. Third, Defendants contend that

removal is appropriate because of the role of Standard Oil of California, a Chevron

predecessor, in operating Elk Hills Reserve in California. NOR ¶ 59. The Elk Hills

Reserve was a petroleum reserve created in 1912 intended to preserve oil in the

ground for national emergencies. Id. ¶ 58. Standard Oil, note Defendants, operated

the U.S. Navy’s portion of the oil reserve according to an Operating Agreement which

specified that Standard Oil was “in the employ of the Navy Department and [was]

responsible to the Secretary thereof.” Id. ¶ 70 (emphasis in NOR). Standard Oil, insist

Defendants, operated Elk Hills under the “subjection, guidance, or control” of the

Navy. Id. ¶ 72 (quoting Watson, 551 U.S. at 151).

      Fourth, Defendants assert that they acted under federal officers “by producing

oil and gas pursuant to the federal mineral exploitation and production regime

created by the Outer Continental Shelf Lands Act.” NOR ¶¶ 82–109. The federal

government, according to Defendants, “retained the power to direct how oil and gas

resources would be extracted and sold from the [Outer Continental Shelf (OCS)].” Id.

¶ 82. Fifth, and finally, in response to the 1970’s oil embargoes, Congress created the

Strategic Petroleum Reserve to reduce the impact of disruptions in supplies of

petroleum products. Id. ¶ 117. Defendants insist that they acted under federal

officers by supplying federally owned oil for gas and managing the Strategic

Petroleum Reserve for the government. Id. ¶¶ 119–20. The federal government,




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assert Defendants, required certain Defendants or their predecessors to pay royalties

in kind, which the government used for its strategic stockpile. Id. ¶ 120.

      The City takes issue with each of Defendants’ activities for which they claim

they acted under federal authority, raising four primary arguments that pertain to

some or all of the activities. The Court addresses each in turn.

      As an initial matter, the City contends—and the Court agrees, as explained

above—that the City’s disclaimer excludes injuries caused by Defendants’ production

of avgas during World War II and the Korean War, as well as sales of specialized,

non-commercial fuels to the military at any time. Memo. Remand at 6–8; Reply at 5.

So too with Defendants’ interactions with the Strategic Petroleum Reserve. Memo.

Remand at 13 (citing Hoboken, 45 F.4th at 713).

       The City also argues that none of the above-listed activities demonstrate

federal control because they were not closely controlled by the government, but rather

demonstrate “the story of a narrow business relationship,” and which other courts,

including several appellate courts, have found to be insufficient to show the requisite

“subjection, guidance, or control” required for the “acting under” element. Memo.

Remand at 11–12; Reply at 14–15 (citing, inter alia, Mayor & City Council of

Baltimore v. BP P.L.C., 31 F.4th 178, 235–38 (4th Cir. 2022); City & Cnty. of Honolulu

v. Sunoco LP, 39 F.4th 1101, 1109 (9th Cir. 2022) (Honolulu II)); see also Memo.

Remand at 9 (citing Cnty. of San Mateo v. Chevron Corp., 32 F.4th 733, 757 (9th Cir.

2022) (“a person is not ‘acting under’ a federal officer when the person enters into an

arm’s-length business arrangement with the federal government or supplies it with




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widely available commercial products or services.”); Roberts v. Smith & Wesson

Brands, Inc., 98 F.4th 810, 814 (7th Cir. 2024) (Roberts II) (“[A] business might be

‘acting under’ a federal officer if the officer commanded it or contracted with it to

produce a particular item in a specified way.”) (emphasis in brief); Memo. Remand at

9–16. Additionally, argues the City, Defendants simply complied with federal laws,

rules, and regulations when they executed the listed activities, which is insufficient

to constitute acting under a federal officer. Memo. Remand at 8–9 (citing, inter alia,

Kelly v. Martin & Bayley, Inc., 503 F.3d 584, 588 (7th Cir. 2007)); id. at 9–16. In

support of its contentions that Defendants’ activities are merely arms-length

transactions or constitute compliance with federal rules, the City cites to numerous

out-of-Circuit cases that have rejected similar arguments and exhibits raised by

Defendants. See, e.g., id. at 11–12; Reply at 14–15 (citing, inter alia, Mayor & City

Council of Baltimore, 31 F.4th at 235–38; Honolulu II, 39 F.4th at 1109).

      Defendants retort that under Baker, their activities satisfy the acting-under

standard. That is, Defendants’ fuel production and sales activities were done

according to “detailed specifications,” under federal “compulsion,” and subject to

“continuous federal supervision”—which, Defendants argue, suffices to meet the

acting-under standard under Baker. Resp. at 6–7 (quoting Baker, 962 F.3d at 943).

Additionally, posit Defendants, much of the activity, including their supply of

specialized fuel to meet Department of Defense demands, would have had to be

performed by the Government in the absence of the contracts with Defendants. Id. at

13 (citing Baker, 962 F.3d at 942). As discussed above, the Court finds that the City’s




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disclaimer forecloses Defendants’ reliance on the provision of specialized fuels to the

military. If the disclaimer were not effective, however, the Court finds that

Defendants’ argument has merit.

      The City’s reliance on out-of-Circuit cases is insufficient on this point, as the

Court agrees with Defendants that the Seventh Circuit adopted a broader

interpretation of the “acting under” standard in Baker than other Circuits have

applied. For example, the Fourth Circuit in Mayor & City Council of Baltimore v. BP

P.L.C., rejected the defendants’ argument that they acted under federal officials when

it “helped the Government to produce an item that it needs” by selling fuel for resale

on Navy bases, as “such logic would bring every seller of contracted goods and services

within the ambit of § 1442 when the government is a customer.” 31 F.4th at 230

(citing Watson, 551 U.S. at 153). As Defendants point out, however, Baker’s holding

is more encompassing, in that it found that the defendants’ sale to the government of

materials it needed for war efforts was sufficient to satisfy the acting under

requirement. Resp. at 16 (citing Baker, 962, F.3d at 942). The City’s citation to

Roberts does not change that analysis. Reply at 14. In Roberts, the Seventh Circuit

cited to Watson in support of the proposition that “a business might be ‘acting under’

a federal officer if the officer commanded it or contracted with it to produce a

particular item in a specified way.” 98 F.4th at 814. But the defendant in Roberts did

not contend that the government directed it to make a weapon at all, let alone for any

wartime purpose.




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      No matter, because the Court agrees with the City that, not only does the

disclaimer foreclose the above argument, but also the timing of certain activities and

the relationship of the activities to the crux of the City’s claims do not support a

finding that Defendants were acting under a federal official. Specifically, the City

argues that Defendants’ activities during World War II and the Korean War cannot

justify federal officer removal because Defendants’ activities during those wars

predate the deceptive conduct alleged in the Complaint. Memo. Remand at 14 (citing

Anne Arundel, 94 F.4th at 349; State by Tong v. Exxon Mobil Corp., 83 F.4th 122, 144

(2d Cir. 2023)). Similarly, the City posits that Standard Oil of California’s status as

the operator of the Elk Hills petroleum reserve does not preclude remand, as it

“precedes and bears no relationship to Defendants’ charged conduct.” Reply at 15.

Defendants respond that the fact that these activities pre-date the alleged

disinformation campaign, is of no moment because “the emissions from these wartime

periods are indistinguishable from and cumulative with all later emissions.” Resp. at

12.

      The City correctly points out that several circuit courts have rejected similar

arguments—and declarations cited in support—raised by Defendants. See Reply at

10. As the United States Court of Appeals for the District of Columbia recently noted

in a similar case:

      But the District does not allege the Companies acted unlawfully until the late
      1980s, and none of the alleged misrepresentations bears any relationship to
      the sale or production of military fuels in the mid-20th century. There is simply
      no relationship between actions taken by the Companies’ predecessors in the




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      1940s and 1950s and the allegedly deceptive statements made by the
      Companies about climate change since 1980.

D.C. v. Exxon Mobil Corp., 89 F.4th 144, 156 (D.C. Cir. 2023); see also Anne Arundel

Cnty., 94 F.4th at 349 (same).

      The Court finds this reasoning persuasive. Here, the City’s Complaint does not

take aim at Defendants’ production of fossil fuels during World War II or the Korean

War for that matter. Instead, the Complaint takes issue with Defendants’ alleged

campaign of deception and misrepresentation in the 1980s of the dangers of fossil fuel

vis-à-vis the environment. The fact that Defendants acted under the federal

government by operating and managing government-owned and/or government-

funded petroleum production facilities is of no import. Unlike the claims in Baker,

this case is about Defendants’ alleged misrepresentations; not their work with or on

behalf of the government that led to or contributed to fossil fuel emissions.

      So too with Defendants’ more recent activities, involving the “extraction of

gasoline or operation of energy infrastructure, either under federal regulations or via

commercial relationships with the federal government.” Anne Arundel, 94 F.4th at

349. As discussed in more detail below, the Court agrees with the Fourth Circuit’s

analysis that Defendants’ activities involving “fossil fuel production rather than

concealment or misrepresentation of information about fossil fuel products,” cannot

support the acting under element because “those activities fail to show the required

relatedness,” and the defendants did “not argue the federal government required

them to market or describe their products in a certain way.” Id. Similarly, Defendants

in this case do not argue that the government required them to market their products




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in any specific way. For the foregoing reasons, the Court agrees with the City that

Defendants fail to satisfy the acting under element of federal officer removal.

             B. Relation to Charged Conduct to Acting under Color of
                Federal Authority

      The third element requires that the gravamen of the claim against Defendants

occur while they acted under color of federal authority. “[T]his requirement is distinct

from the ‘acting under’ requirement in the same way a bona fide federal officer could

not remove a trespass suit that occurred while he was taking out the garbage—there

must be a causal connection between the charged conduct and asserted official

authority.” Ruppel, 701 F.3d at 1181 (cleaned up).

      Defendants argue that the City’s claims are “for or relating to” acts Defendants

performed under color of office. NOR ¶ 128. To satisfy this element, assert

Defendants, there need only be a “connection or association with acts under federal

office.” Id. (quoting Baker, 962 F.3d at 943) (cleaned up). It is not necessary, argue

Defendants, that the complained-of conduct itself was at the behest of a federal

agency. Id. ¶ 130; Resp. at 21. In Baker, point out Defendants, the Seventh Circuit

held that it was “enough for the present purposes of removal that at least some of the

pollution arose from the federal acts.” Resp. at 21 (quoting 962 F.3d at 945) (emphasis

in brief). From Defendants’ perspective, here, as in Baker, the only environmental

harms are those caused by emissions arising from acts undertaken at the direction of

federal officers. Id. Along the same lines, posit Defendants, “[p]roduction and

consumption are integral components of [the City’s] alleged causal theory,” such as

the City’s allegations that Defendants’ extraction and sale of fossil fuel products have




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led to an increase in greenhouse gas emissions, which have caused devastating

climate change impacts to the City. Id. at 22 (citing Compl. ¶¶ 1, 4). The Court cannot,

argue Defendants, allow the City to evade federal jurisdiction by focusing just on

Defendants’ alleged deception (the complained-of conduct), and not on the production,

sale, and consumption of oil and gas producing emissions (the alleged mechanism of

injury), as doing so would improperly “elevate form over substance and allow parties

to evade” federal court. Id. at 23 (quoting Aetna Health Inc. v. Davila, 542 U.S. 200,

214 (2004) and citing Jarbough v. Att’y Gen. of U.S., 483 F.3d 184, 189 (3d Cir. 2007);

Cnty. Bd. of Arlington Cnty. v. Express Scripts Pharmacy, Inc., 996 F.3d 243, 256 (4th

Cir. 2021)). At bottom, the Court must examine the “gravamen” of the Complaint and

set “aside any attempts at artful pleading.” Id. at 22 (quoting Fry v. Napoleon Cmty.

Sch., 580 U.S. 154, 169 (2017) and citing OBB Personenverkehr AG v. Sachs, 577 U.S.

27, 35 (2015)).

      The City counters that Defendants misread Baker’s statement that federal-

officer removal does not require “that the complained-of conduct itself was at the

behest of a federal agency.” Reply at 7 (quoting Baker, 962 F.3d at 944). The way the

City sees it, this statement is simply another way to say that federal-officer removal

does not require a strict “causal connection” between a defendant’s charged conduct

and federal authority, but rather a non-causal “connection or association” will suffice.

Id. Indeed, the Seventh Circuit made clear that the focus remains on whether there

is a “connection or association” between the charged conduct (i.e., “the challenged




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act”) and federal authority. Id. (citing Baker, 962 F.3d at 944–45 (quotations

omitted)).

       As for the other cases cited by Defendants, the City argues that they are

inapposite. In Frye, the Supreme Court analyzed whether the plaintiff’s claims were

subject to the Individuals with Disabilities Education Act’s administrative

exhaustion requirement, and in that context, “explained that ‘the gravamen of a

complaint’ was defined by the ‘conduct that violated’ the law, not by the ‘nature’ of a

plaintiff’s injuries.” Resp. at 7–8 (quoting 580 U.S. at 169–71, 174). And in Sachs, the

Supreme Court construed an exception to the Foreign Sovereign Immunities Act, not

the federal-officer removal statute, and did not address the phrase “for or relating to.”

Id. at 7 (citing 577 U.S. at 35). None of the other cases cited by Defendants are even

close to being on-point, as none address federal-officer removal. See id. at 8. As for

Defendants’ contention that the City engages in “artful pleading,” the City posits that

that exception to the well-pleaded complaint rule pertains only to federal-question

jurisdiction, which Defendants have waived. Id. at 8 (citing Burda v. M. Ecker Co.,

954 F.2d 434, 440 (7th Cir. 1992); Hoboken, 45 F.4th at 713 (“Artful pleading

disguises federal claims as state ones. Yet here, there are no federal claims to

disguise.”)).

       The Court agrees with the City that Baker does not stand for the proposition

that federal officer removal may be based on a relation to a plaintiff’s injuries rather

than to the claims themselves. So, as stated above in relation to the City’s disclaimer,

the Court agrees with the City and out-of-Circuit cases addressing substantially




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similar claims and arguments that the nexus element does not authorize Defendants

to rewrite the City’s claims into something they are not. Resp. at 9 (citing Honolulu

I, 2021 WL 531237, at *7 (“[I]f Defendants had it their way, they could assert any

theory of the case, however untethered to the claims of Plaintiffs, because this Court

must ‘credit’ that theory”); Delaware v. BP Am., Inc., 578 F. Supp. 3d 618, 636 n.21

(D. Del. 2022) (rejecting Defendants’ “misunderst[anding]” that “the Court must

credit their ‘theory of the case’”)). Accordingly, the Court finds that the charged

conduct is insufficiently connected to any acts taken by Defendants under federal

authority to support federal officer removal.

             C. Colorable Defense

      The fourth and final element for federal officer removal is the existence of a

colorable defense. Defendants must establish that they have a “colorable” federal

defense to the City’s claims. This requirement “not only satisfies Article III

jurisdiction, [but] also encapsulates Congress’s desire to have federal defenses

litigated in federal forums.” Ruppel, 701 F.3d at 1182. Defendants assert that they

have several colorable defenses to the City‘s claims: the government contractor

defense, preemption, federal immunity, NOR ¶ 141, as well as the Interstate and

Foreign Commerce Clause, the Supremacy Clause, the Due Process Clause, and the

foreign affairs doctrine, id. ¶ 144. The City argues that none have merit.

             1. Government Contractor Defense

      As the Seventh Circuit explained in Baker, “[t]he government contractor

defense, developed in Boyle v. United Technologies Corp., [487 U.S. 500, 511–12, 108




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S.Ct. 2510, 101 L.Ed.2d 442 (1988),] immunizes government contractors from state

tort law when the government had a hand in a defendant's allegedly defective design.”

Baker, 962 F.3d at 946–47 (cleaned up). The “defense applies where (1) the federal

government approved reasonably precise specifications, (2) the manufactured

equipment conformed to the government’s specifications, and (3) the contractor

warned the federal government about the equipment’s dangers that were unknown

to the government.” Id. (cleaned up).

      Defendants maintain that they produced oil and gas at the direction of the

federal government and thus have a colorable argument that they are immune from

liability for any alleged injuries resulting therefrom. NOR ¶ 142. Baker, from

Defendants’ perspective, demonstrates that the government contractor defense is

applicable here. Id. ¶ 143.

      The City contends that, not only has it disclaimed injuries relating to the

military sales of specialized fuels, but also the federal contractor defense has nothing

to do with the Complaint. Resp. at 19; Reply at 17–18. For the same reasons discussed

above, the Court agrees that the federal contractor defense is unavailable to

Defendants based on the City’s disclaimer, and importantly, the fact that Defendants

do not allege that the government ordered their allegedly deceptive acts. See

Honolulu II, 39 F. 4th at 1110 (rejecting government contractor defense as there was

no allegation that government ordered deceptive conduct).




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             2. Remaining Defenses

      As for Defendants’ remaining alleged defenses, the City argues that these

defenses are inapplicable as “they have nothing to do with the actions Defendants

claim they took under federal direction.” Memo. Remand at 19. Again, the Court

agrees. As the City correctly notes, the defenses do not arise from any official duties.

      III.   Request for Fees

      The City requests that the Court award it fees and costs under 28 U.S.C.

§ 1447(c), due to Defendants’ “objectively baseless removal arguments” that have

been soundly rejected by myriad courts, including courts of appeal in eight different

circuits. Memo. Remand at 3, 30. Predictably, Defendants disagree, taking the

position that they raise “numerous meritorious grounds for removal.” Resp. at 29.

True, as the City points out, most of Defendants’ arguments and exhibits are recycled

and have been rejected by every out-of-Circuit court to consider them. Still, the Court

cannot say, in the face of Baker, that Defendants “lacked an objectively reasonable

basis for seeking removal.” Martin v. Franklin Cap. Corp., 546 U.S. 132, 141 (2005).

Although the Court finds Baker distinguishable in relevant part, and therefore

disagrees with Defendants that it precludes removal, Defendants’ arguments based

on Baker were reasonable, such that the Court finds that an award of attorneys’ fees

would be improper. See id.

                                     Conclusion

      For the foregoing reasons, the Court grants the City’s Motion to Remand [66]

in part and denies it in part. It grants it in part, in that the case is remanded and the




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Clerk’s Office is directed to remand this case to the Circuit Court of Cook County,

Illinois immediately. It denies it in part, in that the Court declines to award the City

fees and expenses.




Date: 5/16/2025
                                               United States District Judge
                                               Franklin U. Valderrama




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